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Attorneys for Canyon County, Defendant


                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF IDAHO


TRACY JOHNSON, individually and as an
Idaho resident, TONI KREITER, individually
                                                    Case No. 1:19-cv-00364-BLW
and as an Idaho resident, RENE WHITNECK,
individually and as an Idaho resident, and
LINDA ELLIS, individually and as an Idaho
resident,                                           STIPULATION FOR DISMISSAL
                                                    WITH PREJUDICE
               Plaintiffs,

v.

CANYON COUNTY, IDAHO,

               Defendant.


       Plaintiffs Tracy Johnson, Toni Kreiter, Rene Whitneck, and Linda Ellis, and Defendant

Canyon County, through their respective counsels of record, hereby stipulate and agree pursuant

to Rule 41 of the Federal Rules of Civil Procedure that the Complaint in the above-captioned

matter can be dismissed with prejudice on the grounds and for the reasons that a compromised

settlement has been reached between the parties, with all parties to bear their own costs and

attorneys’ fees.


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     DATED this 9th day of August, 2021.


                                       IDAHO EMPLOYMENT LAWYERS PLLC

                                       /s/ Pamela S. Howland
                                       PAMELA S. HOWLAND

                                       Attorneys for Defendant Canyon County




     DATED this 9th day of August, 2021.


                                       JONES & SWARTZ

                                       /s/ Eric B. Swartz
                                       Eric B. Swartz

                                       Attorneys for Plaintiffs




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 9th day of August, 2021, I filed the foregoing
STIPULATION FOR DISMISSAL WITH PREJUDICE electronically through the CM/ECF
system, which caused a true and correct copy of the forgoing to be served on the following
person(s), as more fully reflected in the Notice of Electronic Filing:

       Eric B. Swartz
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                                           /s/ Pamela S. Howland
                                           Pamela S. Howland




STIPULATION FOR DISMISSAL WITH PREJUDICE - 3
